CM/ECF-GA Northern District Court                                    https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?157503137762394-...
                       Case 1:21-cr-00143-ELR-CCB Document 95 Filed 10/26/22 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                  1:21-cr-00143-ELR-CCB
                                                         USA v. Hill
                                                 Honorable Eleanor L. Ross

                                Minute Sheet for proceedings held In Open Court on 10/26/2022.


              TIME COURT COMMENCED: 9:30 A.M.
                                                                    COURT REPORTER: Elizabeth Cohn
              TIME COURT CONCLUDED: 5:00 P.M.
                                                                    CSO/DUSM: R. Meadows; J. Marshall
              TIME IN COURT: 1:15
                                                                    DEPUTY CLERK: Michelle Beck
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):              [1]Victor Hill Present at proceedings
         ATTORNEY(S)                Lynsey Barron representing Victor Hill
         PRESENT:                   Drew Findling representing Victor Hill
                                    Marissa Goldberg representing Victor Hill
                                    Brent Gray representing USA
                                    Bret Hobson representing USA
         PROCEEDING
                                    Jury Trial Concluded
         CATEGORY:
         MINUTE TEXT:               Court called to order. Also present during the criminal trial were Paralegal
                                    Emily Hogan (with the Government throughout the trial), FBI Special
                                    Agents Andrew Marc Benjamin, Josh Berrios, and Angel Reyes (with the
                                    Government) and Alexis Alzadeh (with the Defense). Court addressed
                                    issues with the parties. Court DENIED motion [Doc. 91]. Deliberations
                                    began at 9:30am. The jurors returned a guilty verdict at 4:30pm. Court
                                    adjourned.
         HEARING STATUS:            Hearing Concluded
         TRIAL STATUS:              Trial Completed by Jury Verdict
         EXHIBIT STATUS:            Exhibits retained by the Court to be forwarded to the Clerks Office.




1 of 1                                                                                                              10/27/2022, 9:51 AM
